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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-0033 KJM

12                                Plaintiff,            AMENDED STIPULATION REGARDING
                                                        SETTING CHANGE OF PLEA HEARING AND
13                         v.                           EXCLUDABLE TIME PERIODS UNDER SPEEDY
                                                        TRIAL ACT; [PROPOSED] ORDER
14 WILLIAM LAMAR BLESSETT,

15                               Defendant.

16

17          This pleading amends and supersedes the parties’ earlier filed Stipulation Regarding Excludable
18 Time Periods Under Speedy Trial Act and [Proposed] Order. ECF 106.

19                                              STIPULATION
20          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
21 through defendant’s counsel of record, hereby stipulate as follows:

22          1.     In December 2019, a jury convicted Defendant William Lamar Blessett of possessing
23 child pornography in violation of 18 U.S.C. § 2252(a)(4)(B). The defendant appealed that conviction.

24 On April 11, 2022, the Ninth Circuit vacated the defendant’s jury conviction and remanded it for re-trial.

25 On May 3, 2022, the Ninth Circuit filed its formal mandate, ordering that its judgment entered on April

26 11, 2022, was now effective. On May 4, the mandate wase filed in this district court case. ECF 98. The

27 Ninth Circuit also affirmed the Court’s 24-month prison sentence for the defendant’s supervised release

28 violation and revocation, which was based on the same possession offense.

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 1          2.     Pursuant to a stipulation, the Court set a status conference on June 13, 2022, and

 2 excluded time under Section 3161(e) of the Speedy Trial Act through that date so the parties could

 3 prepare for a new trial.

 4          3.     On May 16, 2022, the government filed a Superseding Information charging the

 5 defendant with one count of possession of child pornography in violation of 18 U.S.C. § 2252(a)(4)(B)

 6 and (b)(2). ECF 102. On May 19, 2022, the defendant signed a plea agreement under which he agreed

 7 to plead guilty to the single-count Information.

 8          4.     On June 7, 2022, Blessett filed an unopposed motion to schedule a change of plea hearing

 9 so that the defendant could plead guilty via video conference from his prison facility at U.S.P.

10 Lewisburg in Pennsylvania. ECF 104. A plea via videoconference would have avoided the defendant’s

11 lengthy transport during a time when he would be at risk of contracting or transmitting the COVID-19

12 virus. On June 7, Judge Shubb informed the parties by email that it would not conduct the change of

13 plea hearing via zoom and the defendant would have to be transported to Sacramento to appear in

14 person.

15          5.     On June 8, the Honorable William B. Shubb recused himself from this case and

16 reassigned the case to the Honorable Kimberly J. Mueller. ECF 107. On June 14, Judge Mueller

17 granted the defendant’s unopposed motion to schedule a change of plea hearing via videoconference on

18 June 27, 2022. ECF 108.

19          6.     By stipulation, the parties now move to set an arraignment and change of plea hearing on

20 June 27, 2022, and exclude time between June 13 and the scheduled hearing on July 25 under 18 U.S.C.

21 § 3161(e).

22          7.     The parties also agree and stipulate, and request that the Court find the following:

23                 a)      An arraignment and change of plea hearing shall commence on June 27, 2022.

24                 b)      Although the defendant has signed a plea agreement, there is still a risk that he

25          will not plead guilty on June 27, and the parties may need to proceed to trial.

26                 c)      Given defense counsel’s obligations in his other criminal cases, he needs

27          additional time to continue reviewing case materials, consult further with his client, and to

28          conduct investigation and research related to the vacated jury conviction that is now subject to

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 1        retrial.

 2                   d)   Before a trial can commence in Sacramento, the defendant must be transported

 3        from Lewisburg, Pennsylvania, where he is a prison inmate, to Sacramento via the United States

 4        Marshals Service. This transport could take one to two months given the distance, U.S.M.S.

 5        safety protocols, and the risk of the defendant contracting COVID-19. Accordingly, if this case

 6        must proceed to trial, the parties would need additional time for this transport because the

 7        defendant is a potential witness in his own trial, and he must be present.

 8                   e)   Defense counsel and the government are also still in the process of evaluating a

 9        re-trial of the vacated jury conviction, which originally took place over two years ago, including

10        trying to locate and contact witnesses necessary to re-try the case, some of whom are retired or

11        have changed jobs. The government is also still in the process of locating case evidence that

12        would be used in a potential re-trial. Defense counsel will also need additional time to locate

13        discovery and trial evidence and to refresh his memory regarding the issues in the case. The

14        parties will also need time to meet and confer regarding discovery, trial evidence, and a proposed

15        plan for a re-trial.

16                   f)   Defense counsel has also averred that he needs additional time to evaluate the

17        defendant’s psychological condition, and this will require additional time for the defense to seek

18        one or mitigation witnesses who may need to testify at trial or during a pretrial hearing.

19                   g)   Counsel for defendant believes that failure to grant the above-requested

20        continuance would deny him the reasonable time necessary for effective preparation, taking into

21        account the exercise of due diligence. Moreover, the current unavailability of witnesses and the

22        above-described factors resulting from passage of time make trial within seventy days

23        impractical.

24                   h)   For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

25        et seq., within which trial must commence, the time period of June 13, 2022 to June 27, 2022,

26        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(e) for the above-described reasons,

27        including because it results from counsel for the parties needing to evaluate a re-trial of the

28        vacated conviction, and defense counsel needing time to consult with his client after conducting

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 1          research and evidence review related to the remanded charges.

 2          8.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

 6
     Dated: June 14, 2022                                   PHILLIP A. TALBERT
 7                                                          United States Attorney
 8
                                                            /s/ ROBERT J. ARTUZ
 9                                                          ROBERT J. ARTUZ
                                                            Assistant United States Attorney
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11
     Dated: June 14, 2022                                   /s/ DOUGLAS BEEVERS
12                                                          DOUGLAS BEEVERS
13                                                          Counsel for Defendant
                                                            WILLIAM LAMAR BLESSETT
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15

16                                          [PROPOSED] ORDER
17          IT IS SO FOUND AND ORDERED this ____ day of ___________, _____.
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20
                                                      THE HONORABLE Kimberly J. Mueller
21                                                    UNITED STATES DISTRICT JUDGE

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